Case 3:21-cv-01960-TAD-KDM Document 4 Filed 08/09/21 Page 1 of 1 PageID #: 27




                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF LOUISIANA
                                  MONROE DIVISION


AUDRENA SMITH ET AL                                 CASE NO. 3:21-CV-01960

VERSUS                                              JUDGE TERRY A. DOUGHTY

LOUISIANA STATE POLICE ET AL                        MAG. JUDGE KAYLA D. MCCLUSKY

                                JUDGMENT OF DISMISSAL

        Considering the foregoing Voluntary Dismissal of All Claims [Doc. No. 3] filed by

Plaintiffs,

        IT IS ORDERED, ADJUDGED, AND DECREED that the Motion is GRANTED.

Plaintiffs’ claims against all Defendants are DISMISSED WITH PREJUDICE.

        MONROE, LOUISIANA, this 9th day of August 2021.




                                                               Terry A. Doughty
                                                          United States District Judge
